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                                          1    Adam P. Segal, Esq.
                                               Nevada Bar No. 6120
                                          2
                                               Christopher M. Humes, Esq.
                                          3    Nevada Bar No. 12782
                                               BROWNSTEIN HYATT FARBER SCHRECK, LLP
                                          4    100 North City Parkway, Suite 1600
                                               Las Vegas, Nevada 89106-4614
                                          5    Telephone: (702) 382-2101
                                               Facsimile: (702) 382-8135
                                          6
                                               Email: asegal@bhfs.com
                                          7    Email: chumes@bhfs.com

                                          8    Attorneys for Plaintiffs
                                          9
                                                                             UNITED STATES DISTRICT COURT
BROWNSTEIN HYATT FARBER SCHRECK, LLP




                                          10
                                          11                                        DISTRICT OF NEVADA
     100 North City Parkway, Suite 1600
       Las Vegas, Nevada 89106-4614




                                          12   TRUSTEES OF THE NEVADA RESORT                            Case No. 2:20-cv-01198-KJD-BNW
                                               ASSOCIATION-INTERNATIONAL
              (702) 382-2101




                                          13   ALLIANCE OF THEATRICAL STAGE
                                          14   EMPLOYEES AND MOVING PICTURE
                                               MACHINE OPERATORS OF THE UNITED                          STIPULATION AND ORDER TO
                                          15   STATES AND CANADA LOCAL 720                              DISMISS KOVAC DESIGN, LTD.,
                                               PENSION TRUST; NEVADA RESORT                             WITHOUT PREJUDICE.
                                          16   ASSOCIATION-INTERNATIONAL
                                               ALLIANCE OF THEATRICAL STAGE
                                          17   EMPLOYEES AND MOVING PICTURE
                                          18   MACHINE OPERATORS OF THE UNITED
                                               STATES AND CANADA LOCAL 720
                                          19   PENSION TRUST,

                                          20                                          Plaintiffs,
                                          21
                                               vs.
                                          22
                                               KOVAC DESIGN, LTD, a Nevada
                                          23   corporation,

                                          24                                         Defendant.
                                          25              Pursuant to Federal Rules of Civil Procedure 41(a)(1)(ii), Plaintiffs, Trustees of the
                                          26   Nevada Resort Association-International Alliance of Theatrical Stage Employees and Moving
                                          27   Picture Machine Operators of the United States and Canada Local 720 Pension Trust; Nevada
                                          28   Resort Association-International Alliance of Theatrical Stage Employees and Moving Picture
                                               21988667                                             1
                                               Case 2:20-cv-01198-KJD-BNW Document 9 Filed 01/08/21 Page 2 of 2




                                          1    Machine Operators of the United States And Canada Local 720 Pension Trust, by and through

                                          2    their counsel of record, Brownstein Hyatt Farber Schreck, LLP, and Defendant, Kovac Design,

                                          3    Ltd., by and through its counsel of record Hoy Chrissinger Kimmel Vallas, P.C., hereby stipulate

                                          4    and agree, subject to the Court’s approval, that this action be dismissed without prejudice, with

                                          5    the parties each bearing their own attorney’s fees and costs incurred in this action.

                                          6
                                               BROWNSTEIN HYATT FARBER                           HOY CHRISSINGER KIMMEL VALLAS,
                                          7    SCHRECK, LLP                                      P.C.
                                          8
                                               /s/ Christopher M. Humes                          /s/ Michael D. Hoy
                                          9    Adam P. Segal, Esq.                               Michael D. Hoy, Esq.
                                               Nevada Bar No. 6120                               Nevada Bar No. 2723
BROWNSTEIN HYATT FARBER SCHRECK, LLP




                                          10   Christopher M. Humes, Esq.                        50 West Liberty Street, Suite 840
                                               Nevada Bar No. 12782                              Reno, Nevada 89501
                                          11
     100 North City Parkway, Suite 1600




                                               100 North City Parkway, Suite 1600                Telephone: (775) 786-800
       Las Vegas, Nevada 89106-4614




                                          12   Las Vegas, Nevada 89106-4614                      Facsimile: (702) 786-7426
                                               Telephone: (702) 382-2101
              (702) 382-2101




                                          13   Facsimile: (702) 382-8135

                                          14   Attorneys for Plaintiffs                          Attorneys for Defendant
                                          15   Dated: January 7, 2021                            Dated: January 7, 2021
                                          16
                                          17
                                                                                           ORDER
                                          18
                                                          IT IS SO ORDERED.
                                          19
                                          20                                         _______________________________________________
                                                                                     UNITED STATES DISTRICT
                                          21
                                                                                     CASE NO. 2:20-cv-01198-KJD-BNW
                                          22
                                          23                                                 1/8/2021
                                                                                     DATED: _______________________________________

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